           Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 1 of 15




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                        :         CRIMINAL ACTION
                                                 :
    v.                                           :         No. 17-390-1
                                                 :
 EDWIN PAWLOWSKI                                 :

                                        MEMORANDUM
 Juan R. Sánchez, C.J.                                                            May 18, 2020

         Edwin Pawlowski, who is currently serving a 180-month sentence for corruption-related

offenses, has filed an emergency motion for temporary release to home confinement pursuant to

the compassionate release provision of 18 U.S.C. § 3582(c)(1). Pawlowski is an inmate in the

Federal Correctional Institution (FCI) in Danbury, Connecticut, a low-security prison that is

experiencing a significant outbreak of COVID-19, the highly contagious respiratory disease

caused by the most recently discovered coronavirus. Pawlowski has several underlying medical

conditions that place him at high risk of severe illness from COVID-19, should he contract the

disease. In light of the outbreak at FCI Danbury and the conditions of his confinement at the

prison, Pawlowski believes it is highly probable he will become infected with COVID-19 if he

remains incarcerated and highly probable that the disease could be fatal because of his medical

condition. He therefore seeks temporary release to home confinement pending resolution of his

appeal from his conviction and sentence or until the conditions at FCI Danbury with respect to

COVID-19 improve.

         Pawlowski’s situation is concerning. The Court, however, lacks the authority to grant the

relief Pawlowski seeks. The compassionate release statute authorizes a sentencing court, in

appropriate circumstances, to “reduce [a defendant’s] term of imprisonment.”           18 U.S.C.

§ 3582(c)(1)(A) (emphasis added). It does not permit a court to order a defendant’s temporary
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 2 of 15




release. To grant Pawlowski relief under the statute, the Court would have to reduce the 180-

month term of imprisonment imposed in this case to time served, or approximately 19 months.

Because a reduction of this magnitude is inappropriate in the circumstances of this case, the Court

will deny Pawlowski’s motion. Although the Court lacks authority to grant Pawlowski temporary

release, the Bureaus of Prisons (BOP) possesses the authority to do so under the furlough statute,

18 U.S.C. § 3622, and/or under 18 U.S.C. § 3624 and the CARES Act.                Nothing in this

Memorandum is intended to preclude or discourage the BOP from exercising its authority to

temporarily release Pawlowski on home confinement until the COVID-19 crisis abates.

BACKGROUND

       On March 1, 2018, following a six-week jury trial, Pawlowski, the former mayor of the

City of Allentown, Pennsylvania, was convicted of 38 counts of corruption-related offenses arising

out of his orchestration of a wide-ranging pay-to-play scheme while in public office to fund his

campaigns for Governor of Pennsylvania and the United States Senate.1 The scheme involved

various sub-schemes whereby Pawlowski, directly and through his operatives, agreed to steer City

contracts or provide other favorable official action to companies, law firms, and individuals in

exchange for campaign contributions and other items of value. In total, Pawlowski was convicted

of one count of conspiracy, nine counts of federal program bribery (soliciting), six counts of mail

fraud, six counts of wire fraud, four counts of honest services wire fraud, two counts of honest

services mail fraud, three counts of Travel Act bribery, and seven counts of making false

statements.




1
  The jury convicted Pawlowski of 47 counts, but nine of these counts were dismissed after trial,
five on the Government’s motion and four on Pawlowski’s motion for judgment of acquittal.
                                                2
          Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 3 of 15




       On October 23, 2018, after carefully considering the factors set forth in 18 U.S.C.

§ 3553(a), this Court sentenced Pawlowski to a total of 180 months of imprisonment, a sentence

within the advisory Guidelines range of 151 to 188 months. The Court denied Pawlowski’s motion

for bail pending appeal, and Pawlowski began serving his sentence. Pawlowski renewed his

motion for bail pending appeal before the Third Circuit Court of Appeals, which denied the motion

in February 2019.

       Pawlowski again sought bail pending appeal in the Court of Appeals on March 20, 2020,

in light of the outbreak of COVID-19 in Connecticut and his underlying medical conditions. On

March 31, 2020, the Court of Appeals denied the motion without prejudice to renew the request

should conditions change. Pawlowski renewed his motion on April 2, 2020, in light of the outbreak

of COVID-19 at FCI Danbury. On May 4, 2002, the Court of Appeals denied the motion because

Pawlowski had not met the standard for bail pending appeal. The Court of Appeals noted,

however, that the denial was without prejudice to Pawlowski “pursuing other relief to which he

may be entitled in the District Court in the first instance, such as release under 18 U.S.C.

§ 3582(c)(1).” Order, United States v. Pawlowski, No. 18-3390 (3d Cir. May 4, 2020). Pawlowski

filed the instant emergency motion the same day.2 The Government responded on May 8, 2020,

and Pawlowski filed a reply on May 11, 2020. On May 12, 2020, with the consent of the parties,

the Court heard argument on the motion by telephone conference.3



2
  Although the Court of Appeals retained jurisdiction over Pawlowski’s case, this Court may
consider Pawlowski’s emergency motion pursuant to Federal Rule of Criminal Procedure 37(a).
That Rule allows a court, “[i]f a timely motion is made for relief that the court lacks authority to
grant because of an appeal that has been docketed and is pending,” to “(1) defer considering the
motion; (2) deny the motion; or (3) state either that it would grant the motion if the court of appeals
remands for that purpose or that the motion raises a substantial issue.”
3
  Under Federal Rule of Criminal Procedure 43, a defendant’s presence is not required for a
proceeding that “involves the correction or reduction of sentence under Rule 35 or 18 U.S.C.
                                                  3
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 4 of 15




       Pawlowski seeks temporary release due to his vulnerability to COVID-19 at FCI Danbury.

Pawlowski is 55 years old and has several underlying health conditions that place him at higher

risk of serious illness from COVID-19. Pawlowski’s medical records from FCI Danbury reflect

that his current medical conditions include the following: dyspnea (i.e., shortness of breath) with

a history of chronic obstructive pulmonary disease (COPD) and sleep apnea, for which he uses a

CPAP (continuous positive airway pressure) machine; hypertensive heart disease without heart

failure, for which he has been prescribed medication (aspirin and Lisinopril); and a herpesvirus

infection in his right eye, for which he has been prescribed medication, including the antiviral drug

acyclovir, which he contends results in a compromised immune system. Medical records provided

by Pawlowski’s counsel reflect that Pawlowski was hospitalized in March 2019 after complaining

of chest pain and after an EKG performed in the prison showed abnormal results. In addition, as

a result of a pulmonectomy he underwent decades ago, while in his 20s, Pawlowski currently has

only one lung. The Government notes Pawlowski’s medical conditions appear to be well managed

by medication. But several of these conditions are among the medical conditions the Centers for

Disease Control and Prevention (CDC) has identified as risk factors for severe illness from

COVID-19. See Groups at Higher Risk for Severe Illness, Ctrs. for Disease Control & Prevention,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html

(last updated May 14, 2020) (identifying COPD, prolonged use of “immune weakening

medications,” and serious heart conditions, including “pulmonary hypertension,” as serious




§ 3582(c). Fed. R. Crim. P. 43(b)(4). At the outset of the May 12 telephonic argument,
Pawlowski’s counsel represented that Pawlowski agreed his presence was not necessary.


                                                 4
          Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 5 of 15




underlying medical conditions that may put people at higher risk for severe illness from COVID-

19).4

        Pawlowski also asserts he is at increased risk of contracting COVID-19 at FCI Danbury,

which is experiencing a significant COVID-19 outbreak. There have been cases of COVID-19 at

FCI Danbury since at least early April when the Attorney General of the United States identified

the prison as one of three facilities then experiencing “significant levels of infection” and directed

the BOP to give priority to these institutions in exercising its authority to use home confinement

to move vulnerable inmates out of BOP facilities. Emergency Mot. Ex. 1, ECF No. 291-1 (April

3, 2020, Memorandum from the Attorney General to the Director of the BOP regarding increasing

use of home confinement at institutions most affected by COVID-19). According to the BOP

website, there are currently 34 inmate cases and five staff cases of COVID-19 at FCI Danbury.

COVID-19 Cases, Fed. Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited May 18,

2020). In addition, the BOP reports that 48 inmates and 55 staff have recovered from the disease,

and one inmate has died. Id.5




4
  Although it is not clear that Pawlowski suffers from “pulmonary hypertension,” which the CDC
has identified as a risk factor, there is evidence that hypertension is a risk factor, particularly when
combined with another underlying health condition. See United States v. Rodriguez, No. 03-271-
1, 2020 WL 1627331, at *7 & n.15 (E.D. Pa. Apr. 1, 2020) (discussing research regarding
hypertension and COVID-19); cf. Coronavirus Disease 2019 Basics, COVID-19 and
Hypertension, Ctrs. for Disease Control & Prevention, https:// www.cdc.gov/coronavirus/2019-
ncov/faq.html (last updated May 12, 2020) (“Although many people who have gotten severely ill
from COVID-19 have high blood pressure, they are often older or have other medical conditions
like obesity, diabetes, and serious heart conditions that place them at higher risk of severe illness
from COVID-19.”).
5
 FCI Danbury consists of three facilities—the low-security men’s prison where Pawlowski is
housed, which houses about 719 inmates; a minimum-security women’s camp which houses about
134 inmates; and a low-security women’s satellite prison, which houses about 131 inmates.
Martinez-Brooks v. Easter, No. 20-569, 2020 WL 2405350, at *4-5 (D. Conn. May 12, 2020).


                                                   5
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 6 of 15




       At FCI Danbury, Pawlowski is housed in a dormitory-style housing unit of about 70 men

with inmates sleeping in bunk beds spaced less than six feet apart (the spacing recommended by

the CDC for social distancing to reduce the risk of spreading disease). Given the configuration of

the dormitory-style housing units, the district judge presiding over a habeas class action against

FCI Danbury recently observed that “true social distancing appears to be unachievable at FCI

Danbury, creating an environment where the risk of transmission is significantly heightened.”

Martinez-Brooks, 2020 WL 2405350, at *5. Pawlowski reports that every unit at the prison has

had at least one inmate test positive. He also argues the reported numbers likely understate the

scope of the outbreak because the prison is not testing asymptomatic inmates.

       The Government reports that FCI Danbury has implemented significant measures to

address the COVID-19 crisis and mitigate the risk of transmission in the prison pursuant to the

BOP’s Action Plan for COVID-19. These measures are summarized in a declaration from the

Warden of FCI Danbury submitted in the habeas class action against the prison. See Opp’n

Attachment A, ECF No. 293-1. They include implementing enhanced cleaning and sanitizing

measures; conducting inmate and staff screening, including daily temperature checks for inmates;

requiring inmates and staff to wear masks; and modifying operations so that inmates are, in effect,

sheltering in place with their assigned housing units, receiving meals in their housing units and

receiving services and recreation only with members of their housing units. See Opp’n 9-10, ECF

No. 293. FCI Danbury has also taken steps to isolate inmates who are symptomatic or test positive.

Id. at 10. The petitioners in the habeas class action dispute the efficacy of these measures. See

Martinez-Brooks v. Easter, No. 20-569, 2020 WL 2405350, at *4 (D. Conn. May 12, 2020) (noting

“[t]he extent to which the Warden has implemented adequate measures to control the COVID-19

outbreak at FCI Danbury and protect inmates is hotly disputed”).



                                                6
          Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 7 of 15




DISCUSSION

        A sentencing court has limited authority to modify a term of imprisonment it has imposed.

A court may not modify a term of imprisonment, except as expressly permitted by statute or by

Federal Rule of Criminal Procedure 35. See United States v. Washington, 549 F.3d 905, 916 (3d

Cir. 2008) (recognizing that 18 U.S.C. § 3582(c) and Rule 35 “define the full scope of the district

court’s power to correct a sentence”); 18 U.S.C. § 3582(c) (providing that a court “may not modify

a term of imprisonment once it has been imposed,” except as set forth in § 3582(c) or “to the extent

otherwise expressly permitted by statute or by Rule 35”). Here, Pawlowski invokes the Court’s

authority pursuant to the compassionate release provision of 18 U.S.C. § 3582(c)(1), which

provides, in relevant part, that a court

        may reduce the term of imprisonment (and may impose a term of probation or
        supervised release with or without conditions that does not exceed the unserved
        portion of the original term of imprisonment), after considering the factors set forth
        in section 3553(a) to the extent that they are applicable, if it finds that—

            (i) extraordinary and compelling reasons warrant such a reduction; . . .

        and that such a reduction is consistent with applicable policy statements issued by
        the Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).6



6
  The compassionate release statute also includes an exhaustion requirement for motions brought
by a defendant as opposed to the BOP. A defendant may move for compassionate release after he
“has fully exhausted all administrative rights to appeal a failure of the [BOP] to bring a motion on
the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of
the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Pawlowski’s counsel
sent letters to the Warden at FCI Danbury on April 4 and April 6, 2020, requesting that Pawlowski
be released to home confinement. Emergency Mot. Exs. 2 & 3, ECF Nos. 291-2, 291-3. The
Government does not dispute that these letters, the first of which was filed 30 days before the
instant motion, satisfy the exhaustion requirement in this case. Although the Warden had not made
a decision on Pawlowski’s request at the time the instant motion was filed, during the May 12
argument, Pawlowski’s counsel reported that the Warden has since denied the request. It is not
clear that the denial is final, however, as a temporary restraining order issued in the habeas class
action on May 12 requires the Warden to “[f]inalize and implement a process that makes full and
                                                  7
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 8 of 15




       By its terms, this provision authorizes a court only to “reduce the term of imprisonment,”

with or without imposing a term of probation or supervised release. Id. (emphasis added). The

statute “says nothing about temporary release or other such exotic possibilities. In ordinary

language, a sentence reduction is far different from a temporary release, and the absence of any

reference to temporary release in the statute is, if anything, further confirmation that it was not

contemplated.” United States v. Haney, No. 19-541, 2020 WL 1821988, at *7 (S.D.N.Y. Apr. 13,

2020) (internal citations omitted). The Court therefore concludes—as have numerous other district

courts—that § 3582(c)(1)(A) “does not grant the Court the authority to release [a defendant]

temporarily until the COVID-19 pandemic abates.” United States v. Pereyra-Polanco, No. 19-10,

2020 WL 1862639, at *2 (S.D.N.Y. Apr. 14, 2020); accord United States v. Gales, No. 19-251-4,

2020 WL 2085146, at *3 (N.D. Ohio Apr. 29, 2020); Haney, 2020 WL 1821988, at *7; United

States v. Roberts, No. 18-528-5, 2020 WL 1700032, at *3 (S.D.N.Y. Apr. 8, 2020).7

       Lacking the authority to grant Pawlowski the temporary relief he seeks, the Court must

instead decide whether to grant Pawlowski the relief that is available under the statute—a reduction

of his 180-month sentence to time served, or approximately 19 months. See Roberts, 2020 WL

1700032, at *3 (noting the only way to grant a defendant release from prison under § 3582(c) is



speedy use of the home confinement authority under 18 U.S.C. § 3624(b) and the CARES Act”
based on criteria which require the Warden to “assign[] substantial weight [in the review process]
to the inmate’s risk factors for COVID-19 based on CDC guidance” and to “eliminat[e] all
requirements that the inmate have served some portion of his or her sentence to be eligible for
placement on home confinement.” Martinez-Brooks, 2020 WL 2405350, at *33.
7
  During the May 12 argument, Pawlowski suggested the term “modify” in § 3582(c) allows a
Court to order a defendant’s temporary release. The Court disagrees. The statute provides, at the
outset, that a court “may not modify a term of imprisonment once it has been imposed,” except as
provided therein. 18 U.S.C. § 3582(c) (emphasis added). But the exception for compassionate
release authorizes the court only to “reduce the term of imprisonment.” Id. § 3582(c)(1)(A)
(emphasis added); cf. id. § 3582(c)(2)(B) (authorizing a court to “modify an imposed term of
imprisonment to the extent otherwise expressly permitted by statute or by Rule 35 of the Federal
Rules of Criminal Procedure” (emphasis added)).
                                                 8
          Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 9 of 15




“to reduce her sentence to time served—in other words to permanently release her”). As noted,

the Court may grant such a reduction if, “after considering the factors set forth in section 3553(a) to

the extent that they are applicable, it finds that . . . extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable policy statements issued

by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

        The applicable policy statement is set forth at U.S.S.G. § 1B1.13, which provides, in

relevant part that:

        the court may reduce a term of imprisonment (and may impose a term of supervised
        release with or without conditions that does not exceed the unserved portion of the
        original term of imprisonment) if, after considering the factors set forth in 18 U.S.C.
        § 3553(a), to the extent that they are applicable, the court determines that—

        (1)     (A)    extraordinary and compelling reasons warrant the reduction; or

                (B)    the defendant (i) is at least 70 years old; and (ii) has served at least
                       30 years in prison pursuant to a sentence imposed under 18 U.S.C.
                       § 3559(c) for the offense or offenses for which the defendant is
                       imprisoned;

        (2)     the defendant is not a danger to the safety of any other person or to the
                community, as provided in 18 U.S.C. § 3142(g); and

        (3)     the reduction is consistent with this policy statement.

An application note in the commentary to the policy statement elaborates on the meaning of the

phrase “extraordinary and compelling reasons.” See U.S.S.G. § 1B1.13 cmt. n.1. The application

note describes three categories of circumstances in which extraordinary and compelling reasons

would exist based on the medical condition, age, or family circumstances of the defendant. Id. It

also includes a catch-all provision that allows the Director of the BOP to determine whether “there

exists in the defendant’s case an extraordinary and compelling reason other than, or in combination




                                                  9
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 10 of 15




with, the reasons described in [the other three categories].”8 Id. With regard to a defendant’s

medical condition, the application note provides that extraordinary and compelling reasons exist

if

        [t]he defendant is—

        (I)     suffering from a serious physical or medical condition,

        (II)    suffering from a serious functional or cognitive impairment, or

        (III)   experiencing deteriorating physical or mental health because of the aging
                process,

        that substantially diminishes the ability of the defendant to provide self-care within
        the environment of a correctional facility and from which he or she is not expected
        to recover.

Id. cmt. n.1(A)(ii).

        As noted, granting Pawlowski compassionate release would require the Court to reduce his

term of imprisonment from 180 months to time served, or approximately 19 months, a reduction




8
  Interpreting this application note in light of recent amendments to the compassionate release
statute, a majority of the district courts that have considered the issue have concluded that a court
(not just the BOP) may independently determine whether extraordinary and compelling reasons,
other than the reasons listed in the policy statement, exist in a particular case. See Rodriguez, 2020
WL 1627331, at *4 (collecting cases). At the time the application note was drafted, only the
Director of the BOP could move for compassionate release on an inmate’s behalf. In December
2018, however, “the First Step Act amended § 3582(c)(1)(A) to allow prisoners to directly petition
courts for compassionate release, removing the BOP’s exclusive ‘gatekeeper’ role.” Id. at *2. The
Sentencing Commission has not updated the policy statement to account for this statutory change,
and the policy statement is clearly outdated in some respects, as it continues to track the former
statutory language permitting a court to reduce a term of imprisonment only “[u]pon motion of the
Director of the Bureau of Prisons.” U.S.S.G. § 1B1.13 & cmt. n.4. Given the changes to the
statute, numerous courts have found the policy statement “does not constrain [a court’s]
independent assessment of whether ‘extraordinary and compelling reasons’ warrant a sentence
reduction under § 3582(c)(1)(A).” Rodriguez, 2020 WL 1627331, at *4 (alteration in original)
(citation omitted) (collecting cases). A minority of courts have found otherwise. See id. (collecting
cases). Because the Government concedes that, in light of the risk of COVID-19, Pawlowski’s
medical condition meets the criteria for extraordinary and compelling reasons based on medical
condition, Opp’n 15 & n.6, ECF No. 293, the Court need not decide this issue.
                                                 10
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 11 of 15




of nearly 90 percent. To grant Pawlowski’s motion, the Court must find that (1) extraordinary and

compelling reasons warrant the reduction, (2) Pawlowski is not a danger to the safety of any other

person or to the community as provided in 18 U.S.C. § 3142(g), and (3) the applicable sentencing

factors under 18 U.S.C. § 3553(a) warrant the reduction.9 Because the Court is not persuaded a

more than 13-year reduction of Pawlowski’s sentence is justified under the circumstances, the

Court will deny Pawlowski’s motion.

       With regard to the first factor, Pawlowski argues extraordinary and compelling reasons

exist in this case because of his vulnerability to COVID-19 in prison, given his underlying heath

conditions, which place him at high risk of serious illness from COVID-19, and the conditions at

FCI Danbury, where the disease is present and he is at risk of contracting it. The Third Circuit

Court of Appeals has noted that “the mere existence of COVID-19 in society and the possibility

that it may spread to a particular prison alone cannot independently justify compassionate release.”

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). As the Government notes, moreover,

Pawlowski’s health conditions, standing alone, would not provide a basis for compassionate

release as they appear to be well controlled by medication and do not appear to “present any

impediment to his ability to provide self-care in the institution.” See Opp’n 14, ECF No. 293. The

Government concedes, however, that given the risk of COVID-19, Pawlowski’s medical condition

qualifies as an extraordinary and compelling reason under the application note to the policy

statement. See id. at 15 & n.6. Specifically, the Government acknowledges that “the risk of

COVID-19 presents ‘a serious physical or medical condition . . . that substantially diminishes the

ability of the defendant to provide self-care within the environment of a correctional facility,’ . . .



9
 The Court must also find the reduction is otherwise consistent with the policy statement. In light
of its analysis of the other factors, the Court need not address this factor.


                                                  11
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 12 of 15




as, due to his comorbidities, [he] may be less able to protect himself against an unfavorable

outcome from the disease.” Id. at 15. With the Government’s concession, this element is satisfied.

       As to the second factor, the Court finds Pawlowski does not pose a danger to the safety of

any other person or the community, as provided in 18 U.S.C. § 3142(g). Pawlowski was convicted

of corruption-related offenses committed while he held public office. Although his offenses were

serious, they were non-violent, and the offense conduct is unlikely to recur as Pawlowski no longer

holds public office and is unlikely to do so in the future. Notably, Pawlowski was permitted to

remain on bail pending trial and sentencing in the case.10

       As to the third factor, however, the Court is not persuaded the § 3553(a) factors warrant

the substantial reduction in Pawlowski’s term of imprisonment that would be required to grant him

compassionate release.     In contrast to many of the cases in which courts have granted

compassionate release during the COVID-19 pandemic, Pawlowski has served only a small

fraction of his sentence to date. See United States v. Bogdanoff, No. 12-190-1, 2020 WL 2307315,

at *6 (E.D. Pa. May 8, 2020) (noting defendant who had served only seven years of his 18-year

sentence had a “much different” case for compassionate release than “others where defendants are

at the end of their sentence”); Rodriguez, 2020 WL 1627331, at *10 (granting compassionate

release to a defendant who had served 17 years of a 20-year sentence and was one year away from

eligibility for home confinement). In sentencing Pawlowski only 19 months ago, the Court

considered each of the § 3553(a) factors and found they supported a within-Guidelines sentence




10
   At the May 12 argument, the Government conceded Pawlowski does not pose a danger to the
community, except as a possible carrier of COVID-19. However, Pawlowski represents that, if
released, he “will reside in his longtime home in Allentown with his wife and two children,
virtually on house arrest lockdown like the rest of the citizens of Pennsylvania.” Emergency Mot.
¶ 12, ECF No. 291.


                                                12
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 13 of 15




of 180 months. See Sentencing Hr’g Tr. 162-75, Oct. 23, 2018, ECF No. 253. It is difficult to see

how the same factors that justified a 180-month sentence a year and a half ago justify a 19-month

sentence today. See Roberts, 2020 WL 1700032, at *3 (noting the court would be “hard pressed

to conclude that, whereas the Section 3553(a) factors justified a forty-eight-month sentence only

a month ago, the same factors suddenly justify a time-served sentence today”).11

       The only factors that might arguably weigh in favor of a reduction in light of the COVID-

19 pandemic are “the history and characteristics of the defendant,” which include Pawlowski’s

risk factors for severe illness from COVID-19, and the need for the sentence “to provide the

defendant with needed . . . medical care.” 18 U.S.C. § 3553(a)(1), (2)(D). But the remaining

factors weigh heavily against a reduction, including “the nature and circumstances of the offense”;

the need for the sentence imposed to “reflect the seriousness of the offense,” “promote respect for

the law,” “provide just punishment for the offense,” and “afford adequate deterrence”; and “the

need to avoid unwarranted sentence disparities.” Id. § 3553(a)(1), (2)(A)-(B), (6). Although non-

violent, Pawlowski’s crimes were extraordinarily serious, involving abuse of a position of public



11
   Pawlowski argues the length of the sentence remaining is not a relevant factor, noting this factor
is not mentioned in the Attorney General’s directive to the BOP to review all inmates with COVID-
19 risk factors for home confinement. The BOP’s authority to move prisoners to home
confinement, however, is separate from the courts’ authority to grant compassionate release.
Under the compassionate release statute, a court is required to consider the § 3553(a) factors in
determining whether to grant release. The amount of the sentence a defendant has served, and the
amount that remains to be served, are relevant to a court’s consideration of the § 3553(a) factors.
See Rodriguez, 2020 WL 1627331, at *10 (noting that where defendant had served 17 years of a
20-year sentence and was one year away from eligibility for home confinement, “[k]eeping him in
prison for one more year makes a marginal difference to his punishment”).
        Pawlowski also directs the Court to United States v. Foreman, No. 19-362, 2020 WL
2315908 (D. Conn. May 11, 2020), in which a court granted compassionate release to an inmate
in the women’s camp at FCI Danbury who had served only two and a half months of a 12-month
sentence for tax evasion. While Foreman shows that a substantial reduction may be permissible
in a compassionate release case, the original sentence in that case was a fraction of the Pawlowski’s
original sentence. In the Court’s view, the § 3553(a) factors do not support the same result here.


                                                 13
         Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 14 of 15




trust. In imposing sentence, the Court found a significant period of incarceration was required not

only in light of the seriousness of the public corruption offenses in this case but also to promote

respect for the law and send a strong message of deterrence. Reducing the 180-month sentence

imposed to 19 months would undermine these goals. See United States v. Walter, No. 18-834-6,

2020 WL 1892063, at *3 (S.D.N.Y. Apr. 16, 2020) (declining to convert a defendant’s sentence

“to one of home confinement, when he ha[d] served just 17 months of a 62-month term of

incarceration,” where doing so “would disserve [several] important § 3553(a) factors”); United

States v. Ebbers, No. 02-1144-3, 2020 WL 91399, at *7 (S.D.N.Y. Jan. 8, 2020) (holding that in

considering the § 3553(a) factors, a court “should assess whether those factors outweigh the

‘extraordinary and compelling reasons’ warranting compassionate release, particularly whether

compassionate release would undermine the goals of the original sentence”). Finally, as the

Government notes, reducing Pawlowski’s sentence to time served would result in his serving less

time than Michael Fleck, his former campaign manager and coconspirator, who pleaded guilty and

was sentenced to 60 months.

       The Court finds the § 3553(a) factors are dispositive here. Because those factors do not

support the reduction necessary to grant Pawlowski compassionate release, the Court will deny

Pawlowski’s motion.

CONCLUSION

       Because the Court finds the reduction necessary to grant Pawlowski compassionate release

is not warranted based on the § 3553(a) factors, and because the Court lacks authority to grant his

request for temporary release, the Court must deny Pawlowski’s motion. While the Court lacks

authority to grant Pawlowski temporary release, the BOP possesses the authority to do so under

the furlough statute, 18 U.S.C. § 3622, and/or under 18 U.S.C. § 3624 and the CARES Act.



                                                14
        Case 5:17-cr-00390-JS Document 297 Filed 05/18/20 Page 15 of 15




Nothing in this Memorandum is intended to preclude or discourage the BOP from exercising its

authority to temporarily release Pawlowski on home confinement to reduce the threat to him until

the COVID-19 crisis abates.



                                                BY THE COURT:



                                                   /s/ Juan R. Sánchez       .
                                                Juan R. Sánchez, C.J.




                                              15
